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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                               CASE NO. 3:14cr98/MCR

ASTON INGRAM
a/k/a Michael Aston Ingram

                                       /

                         ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, and subject to this Court’s
consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of guilty of
the Defendant, ASTON INGRAM, to Counts I and II of the Superseding Indictment is
hereby ACCEPTED. All parties shall appear before this Court for sentencing as directed.
      DONE and ORDERED this 6th day of March 2015.



                                           s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE
